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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     THE COOKIE DEPARTMENT, INC.,                       Case No. 20-cv-09324-KAW
                                   8                    Plaintiff,
                                                                                            ORDER STRIKING SUPPLEMENTAL
                                   9             v.                                         EXHIBITS
                                  10     THE HERSHEY COMPANY, et al.,                       Re: Dkt. No. 105
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          At the September 1, 2022 hearing on Defendants’ motion for partial summary judgment,

                                  14   Plaintiff represented that the Tough Cookie mark had been used to sell crackers, almond cookies,

                                  15   vegan cookies, and chocolate covered cookies. The Court permitted Plaintiff to file a

                                  16   supplemental brief that would list only citations to the record in support of this statement. (See

                                  17   Dkt. No. 104.) On September 2, 2022, however, Plaintiff filed its supplemental brief with 52

                                  18   pages of “supplemental exhibits.” (Dkt. No. 105.)

                                  19          This is inappropriate. The Court did not give Plaintiff leave to file new exhibits. Plaintiff

                                  20   had ample opportunity to include these exhibits with its opposition; Plaintiff cannot use the

                                  21   Court’s request for citations to include new exhibits. Accordingly, the Court STRIKES the

                                  22   supplemental exhibits; the Court will not consider any supplemental exhibit.

                                  23          IT IS SO ORDERED.

                                  24   Dated: September 6, 2022
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                                  25                                                         KANDIS A. WESTMORE
                                                                                             United States Magistrate Judge
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